                                                                                                3/21/19

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT
                            LEWIS F. POWELL, JR. UNITED STATES COURTHOUSE ANNEX
                                       1100 EAST MAIN STREET, SUITE 501
                                        RICHMOND, VIRGINIA 23219-3517
                                            WWW.CA4.USCOURTS.GOV

PATRICIA S. CONNOR                                                                                TELEPHONE
     CLERK                                                                                     (804) 916-2700

                                             March 22, 2019

 Julia C. Dudley, Clerk
 U.S. District Court
 Western District of Virginia
 116 North Main Street, Room 314
 Harrisonburg, VA 22802

         Re:     USA v. Evans
                 5:15-cr-00020-MFU-1

 Dear Ms. Dudley:

        The enclosed document was received by this court on March 21, 2019, and is construed as a
notice of appeal.

         In accordance with Rule 4(d) of the Federal Rules of Appellate Procedure, the document has
been date stamped and is being forwarded to your court for appropriate disposition. See FRAP 4(d)
("If a notice of appeal in either a civil or a criminal case is mistakenly filed in the court of appeals,
the clerk of that court must note on the notice the date when it was received and send it to the district
clerk. The notice is then considered filed in the district court on the date so noted.")

        If the district court has already transmitted a notice of appeal to this court as to the issues
 contained in the attached, it is unnecessary to transmit notice of the appeal a second time.

                                                   Yours truly,



                                                   Patricia S. Connor

 PSC:dlg
 Enclosures

 cc:     Warren Evans, Jr. (w/ stamped 1st page)
         #58902-037
         U.S. Penitentiary – Coleman I
         P.O. Box 1033
         Coleman, FL 33521




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